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 2
                          UNITED STATES DISTRICT COURT
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                        SOUTHERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                 CASE NO.: 21CR2099-JLS
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                        Plaintiff,             ORDER ON THE JOINT MOTION TO
 7                                             CONTINUE MOTION HEARING AND
           v.                                  EXCLUDE TIME UNDER THE
 8                                             SPEEDY TRIAL ACT
     OSCAR OLMEDA,
 9
                        Defendant.
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12         This matter comes before the Court upon the joint application of the parties to
13   continue the hearing scheduled for October 8, 2021, and to exclude a period of time
14   in computing the deadline within which the trial of this case must commence under
15   18 U.S.C. § 3161. Based on the application, the Court makes the following findings:
16         For reasons stated in the joint motion to continue the motions hearing, the
17   Court finds the ends of justice served by granting the requested continuance outweigh
18   the best interest of the public and the Defendant in a speedy trial. Accordingly, the
19   delay occasioned by this continuance is excludable pursuant to 18 U.S.C. §
20   3161(h)(7)(A).
21         IT IS ORDERED that the motion to continue is granted. The hearing
22   scheduled for October 8, 2021, shall be continued to November 12, 2021 at 1:30 p.m.
23         SO ORDERED.
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     Dated: October 6, 2021
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